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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                      -X



 UNITED STATES OF AMERICA, CONSENT TO PROCEED BY
                                                                 VIDEO OR TELE CONFERENCE
                       -against-


Ralphy Deh/is Polanco-Terrero
                       Defendant(s).
                                                      -X


Defendant Ralphy Delvis Polanco-Terrero hereby voluntarily consents to participate in the
following proceeding via Kl videoconferencing or S3 teleconferencing:


       Initial Appearance Before a Judicial Officer


a Arraignment (Note: If on Felony Information, Defendant Must Sign Separate Waiver of
       Indictment Form)

d Guilty Plea/Change of Plea Hearing

D Bail/Detention Hearing

d Conference Before a Judicial Officer - Assignment of Counsel



/ S/ P^^ Q, [)J^(o "-^r/ev.o SusamieBrodY /s/
Defendant's Signature fc>^ f^ — '^^ /<_^ Defendant's Counsel's Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)

Ralphy Delvis Polanco-rerrero _Susanne Brody
Print Defendant s Name Print Counsel s Name



This proceeding was conducted by reUable/v-id^o ort^^Kone^nferencmgj^clmology.


October 16, 2020 \ ^// .^"""
Date T^R^fe^rable Paul Davison
                                              U.S. Magistrate Judge
                                              Southern District of New York
